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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


                                                )
JESSIE DOTSON,                                  )
                                                )
       Petitioner,                              )
                                                )
v.                                              )                  No. 2:24-cv-02053-MSN-cgc
                                                )
ZAC POUNDS,                                     )                  CAPITAL CASE
                                                )
       Respondent.                              )
                                                )


                     ORDER STAYING FILING OF AMENDED PETITION


       On January 26, 2024, Petitioner Jessie Dotson filed a petition under 28 U.S.C. § 2254.

(ECF No. 1.) On February 13, 2024, the Court entered an Order directing Respondent to file the

complete state court record and requiring Petitioner to file an amended petition sixty (60) days

later. (ECF No. 7 at PageID 258-59.) On March 12, 2024, Respondent filed the state court record.

(ECF Nos. 8-11.) On April 1, 2024, Petitioner filed a Motion to Correct State Court Record. (ECF

No. 14.) On April 26, 2024, Petitioner filed Petitioner’s Unopposed Motion to Stay Filing of

Amended Petition. (ECF No. 18.) For good cause shown, the Motion to Stay Filing of Amended

Petition, (ECF No. 18), is GRANTED.1

       IT IS SO ORDERED, this 16th day of May, 2024.

                                                    s/ Mark S. Norris
                                                    MARK S. NORRIS
                                                    UNITED STATES DISTRICT JUDGE



       1
       The order on the Motion to Correct State Court Record will set the deadline for filing the
amended petition.
